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                EXHIBIT C
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Bernstein Litowitz Berger & Grossmann LLP Announces Securities Class Action Suit Filed
Against Synchrony Financial And Certain

 Bernstein Litowitz Berger & Grossmann LLP Announces Securities Class Action
 Suit Filed Against Synchrony Financial And Certain Of Its Senior Executives
PR Newswire

NEW YORK, Nov. 2, 2018
NEW YORK, Nov. 2, 2018 /PRNewswire/ -- Bernstein Litowitz Berger & Grossmann
LLP ("BLB&G") today announced that it has filed a securities class action
lawsuit on behalf of Retail Wholesale Department Store Union Local 338
Retirement Fund against Synchrony Financial ("Synchrony" or the "Company")
(NYSE: SYF) and certain of its senior executives. The action, which is
captioned Retail Wholesale Department Store Union Local 338 Retirement Fund v.
Synchrony Financial, No. 3:18-cv-01818 (D. Conn.), asserts claims under
Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 on behalf of
investors in Synchrony stock during the time period of October 21, 2016 and
November 1, 2018 (the "Class Period").

The Complaint alleges that during the Class Period, Synchrony falsely
represented that its consistent and disciplined underwriting practices had led
to a higher quality loan portfolio than those of its competitors. In truth,
Synchrony relaxed its underwriting standards and increasingly offered
private-label credit cards to riskier borrowers to sustain growth. The truth
about Synchrony's credit standards began to be revealed on April 28, 2017,
when the Company announced disappointing first quarter 2017 earnings driven by
poor loan performance. This news caused Synchrony's shares to decline by
$5.25 per share, or nearly 16%.
Following this disclosure, the Company represented that it had tightened
credit standards, but falsely characterized those underwriting changes as
modest. In fact, the Company had made significant modifications to its
underwriting policies, but concealed that these modifications were damaging
its relationships with its retail partners, including Walmart.

On July 26, 2018, multiple news outlets reported that Walmart had chosen a
competitor to replace Synchrony. Together, these two disclosures caused
Synchrony's shares to decline nearly 14%. Then, on November 1, 2018, Walmart
sued Synchrony accusing the Company of improper underwriting in connection
with the Walmart/Synchrony credit card program. As a result of this
disclosure, Synchrony shares declined by over 10%.
If you wish to serve as Lead Plaintiff for the Class, you must file a motion
with the Court no later than January 2, 2019, which is the first business day
on which the U.S. District Court for the District of Connecticut is open that
is 60 days after the publication date of November 2, 2018. Accordingly, the
deadline for filing a motion for appointment as Lead Plaintiff is. Any member
of the proposed Class may move the Court to serve as Lead Plaintiff through
counsel of their choice. Members may also choose to do nothing and remain
part of the proposed Class.

If you wish to discuss this Action or have any questions concerning this
notice or your rights or interests, please contact Avi Josefson of BLB&G at
212-554-1493, or via e-mail at avi@blbglaw.com. Information about BLB&G can
be found online at www.blbglaw.com.

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-senior-executives-300743409.html

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